                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

  ANTHONY DAVID TEAL and                         )
  ONETA KAY TEAL,                                )
                                                 )
                Plaintiffs,                      )   4:13-CV-19 (Lead Case)
                                                 )   4:13-CV-51
                                                 )
  v.                                             )   Judge Curtis L. Collier
                                                 )
  COFFEE COUNTY BANK, et al.,                    )
                                                 )
                Defendants.                      )

                                     JUDGMENT ORDER

         Before the Court is a motion for summary judgment by Defendants Coffee County Bank,

  Kenneth Kirby, Keith Pippenger, and Shawn Trail (“Defendants”) on federal and state claims

  asserted by Plaintiffs Anthony David Teal and Oneta Kay Teal (“Plaintiffs”) (Court File No. 103

  in the lead case, No. 4:13-CV-19). For the following reasons, the Court GRANTS Defendants’

  motion for summary judgment on Plaintiffs’ federal claims and declines to exercise supplemental

  jurisdiction over Plaintiffs’ state law claims (Court File No. 103). Accordingly, the Court

  DISMISSES the cases. There being no other issues, the Court DIRECTS the Clerk of Court to

  CLOSE these cases.

         SO ORDERED.

         ENTER:

                                             /s/
                                             CURTIS L. COLLIER
                                             UNITED STATES DISTRICT JUDGE

  ENTERED AS A JUDGMENT
     s/ Debra C. Poplin
     CLERK OF COURT




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